Case:20-16375-TBM Doc#:93 Filed:12/10/20 Entered:12/10/20 10:07:13 Page1 of 13

Fill in this information to identify the case:

Debtor Name PS of Denver, Inc.

 

United States Bankruptcy Court for the: District af Colorado

(J Check if this is an

~4
Case number. 20-16375 amended filing

 

Official Form 425C

 

Monthly Operating Report for Small Business Under Chapter 11 12/17

Month: 9/25/2020-1 0/31 {2020 Date report filled: 41/19/2020
MM/DDIYYYY

Line of business: Flooring NAISC code:

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

 

 

Responsible party: Brett Martin
Original signature of responsible party L—< 7
Printed name of responsible party Brett Martin

 

| | 1. Questionnaire

 

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

 

 

Yes No NIA
If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period? a wd
2. Do you plan to continue to operate the business next month? wi Q) Q
3. Heve you paid all of your bills on time? w O Q)
4, Did you pay your employees on time? uw Q) Q]
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? w Qo QO
6. Have you timely filed your tax returns and paid all of your taxes? C) | (J
7. Have you timely filed all other required government filings? QO O
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptey Administrator? QJ QO
9. Have you timely paid all of your insurance premiums? wy C] Q
Ifyou answer Yes to any of the questions in fines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts? Cl w@ QO
11. Have you sold any assets other than inventory? ] w Q
12, Have you sold or transferred any assets or pravided services to anyone related to the DIP in any way? ol Ww Q
13. Dic any insurance company cancel your policy? q ul
14, Did you have any unusual or significant unanticipated expenses? Q wy QJ
15. Have you dorrowed money from anyone or has anyone made any payments on your behalf? O WY Q
oO wf a

16. Has anyone made an investment in your business?

Official Form 425C Monthly Operating Report for Small Business Under Chapter tf page 4
Case:20-16375-TBM Doc#:93 Filed:12/10/20 Entered:12/10/20 10:07:13 Page2 of 13

Debtor Nare PS of Denver, Inc. Case number 20-16375

17.
18.

Have you paid any bills you owed before you filed bankruptcy?

Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

Oo
fs) &
Co

 

Po] 2. Summary of Cash Activity for All Accounts

19.

20,

21.

22.

23.

Total opening balance of all accounts

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of all cash received for the month and jabel it Exhibit C. include alt
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
liew of Exhibit C.

Report the total from Exhibit C here, $_71,128.79

Total cash disbursements

Altach a listing of all payments you made in tha month and label it Exhibit D, List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. ~§ 63,756.34

Report the total from Exhibit D here.

Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

Cash on hand at the end of the month
Ade line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit,

5 0.00

4+ $7,372.45

= § 7,372.45

 

Za 3. Unpaid Bills

 

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit £. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

 

24. Total payables 3 27,862.99
(Exhibit E)
Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
Case:20-16375-TBM Doc#:93 Filed:12/10/20 Entered:12/10/20 10:07:13

Debtor Nama PS of Denver, Inc.

ae :. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

32.

33.

34.

35.

Case number 20-16375

Page3 of 13

 

 

 

 

 

 

 

 

 

 

 

Exhibit F here,
25. Total receivables $ 0.06
(Exhibit F}
| | 5. Employees
26. What was the number of employees when the case was filed?
27, What is the number of employees as of the date of this monthly report?
| | 6. Professional Fees
28, How much have you paid this month in professional fees related to this bankruptcy case? $ _.9:000.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __25,000.00
30, How much have you paid this month in other professional fees? $ ___4,079.00
31, How much have you paid in total other professional fees since filing the case? $ 0.00
a 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Colurma A Column B o Column €
Projected Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month's this report. from Column A.
report.
Cash receipts $ 0.00 $ 71,128.79 g 71,128.79
Gashdlebuements § 0.00 g¢ 63,756.34 = ¢ 63,756.34
Net cash flow g 0.00 | s 7,372.45 | $7,372.45 |
Total projected cash receipts for the next month: $ 100,000.00

36.
37.

Fotal projected cash disbursements for the next month:

Total projected net cash flow for the next month:

~ 5 75,000.00

= 25,000.00

 

Official Form 425C

Monthly Operating Report for Small Business Under Chapter 14

page 3
Case:20-16375-TBM Doc#:93 Filed:12/10/20 Entered:12/10/20 10:07:13 Page4 of 13

DebterName PS of Denver, Inc. Case number 20-16375

| aa 8. Additional Information

if available, check the box to the left and attach copies of the following documents.

{4 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
(4 39. Bank reconciliation reports for each account,

(40. Financial reports such as an income statement (profit & foss} and/or balance sheet.

C] 41. Budget, projection, or forecast reports.

L] 42. Project, job costing, or work-in-progress reports.

Official Form 425¢ Monthly Operating Report for Small Business Under Chapter 11 page 4
13 Page5 of 13

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DEBTOR IN POSSESSION
BANKRUPTCY CASE # 20-16375-TBM
730 S JASON ST UNIT 18

DENVER CO 80223-2832

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Effective November 9, 2020 the "Your Deposit Account Agreement” booklet will include several updates and may affect your

rights.

The main updates to note in the revised “Your Deposit Account Agreement” booklet sections and sub sections, include:
e Throughout the document, references to the Federal Regulation D (governing savings and/or money market withdrawal

limitations) have been removed, as they are no longer applicable.

e In section "Withdrawal Rights, Ownership of Account, and Beneficiary Designation", sub section "Joint Account - With

Survivorship", clarification on ownership type.

e Inthe "Dormant Accounts and Escheat" and "Time Deposit" sections, clarification on the state permitted process and

cost structure for escheatment.

e Update to section "Types of Transactions", sub section "Account Access at Automated Teller Machines" regarding: You
may access your Home Equity Line of Credit or Personal Line of Credit for balance inquiries and making a payment to
the respective line of credit at the ATM. Customers with a Debit or ATM card that have accessed a Home Equity Line of
Credit or a Personal Line of Credit through the expanded card access feature, cash withdrawals/advances and

transferring from the Home Equity Line of Credit or Personal Line of Credit is no longer allowed.

Starting November 9th, you may pick up a copy at your local branch, view on usbank.com, or call 800.USBANKS (872.2657) to
request a copy. If you have any questions, our bankers are available to help at your local branch. You can also call us at U.S.
Bank 24-Hour Banking at 800.USBANKS (872.2657). We accept relay calls.

   
  
   
   
  
  
  
 
  
   

 

 
  

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iccount Summary
# Items
ieginning Balance on Oct 1 $
‘ustomer Deposits 3
ther Deposits 3
ther Withdrawals 11
‘hecks Paid 1
Ending Balance on Oct 31,2020 $
-ustomer Deposits
lumber «? Date Ref Number
Oct 1 8953240918
Oct 30 9252696058

Account Number

   

 

0.00 Number of Days in Statement Period
4,230.40
30,433.26
30,000.00-
260.00-
4,403.66
Amount Number Date RefNumber ss Amount 5:
100.00 Oct 30 9252929243 3,619.20 "ri
511.20 je
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nc RE MITRE Doc#:93 ToRHedLO MOG raksntenedel BAAZOLOOF ABunRAGAWAR. ease
examine this statement immediately. We will assume that the balance and transactions shown are - z
correct unless you notify us of an error. :

dJutstanding Deposits

JATE 1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
the left. Record the total.

 

¥Me. OG
*
o

2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM) fe € :
and automatic payments that appear on your statement. Withdrawals that are NOT checked off ye

0 should be recorded in the Outstanding Withdrawals section at the left. Record the total.

   

utstanding Withdrawals 3. Enter the ending balance shown on this statement. $
JATE 4. Enter the total deposits recorded in the Outstanding Deposits section. $
5. Total lines 3 and 4. $ *
peti
6. Enter the total withdrawals recorded in the Outstanding Withdrawals section. $ i a
7. Subtract line 6 from line 5. This is your balance. $ < io
8. Enter in your register and subtract from your register balance any checks, withdrawals or other 3. ait f

   

debits (including fees, if any) that appear on your statement but have not been recorded in your - A

register. at 7
oat

9, Enter in your register and add to your register balance any deposits or other credits (including “’* it Frit

interest, if any) that appear in your statement but have not been recorded in your register, ¥ ae By

10. The balance in your register should be the same as the balance shown in #7. Ifitdoes not. wee 4

match, review and check all figures used, and check the addition and subtraction in your registeF.*! 9° s

If necessary, review and balance your statement from the previous month. oa 4

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Siew

MPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
n Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers Oe
f you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you”

1@ FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WSSD, 60 Livingston {2
We., St. Paul, MN 55107.

Tell us your name and account number.

Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information. .

Tell us the dollar amount of the suspected error. ®
Ve will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to -
westigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do thid,
ve will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If¥*
ve ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. ne

*Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.

MPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS o8.
irrors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the’ .*>.

ules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the numbers
sted on the front of this statement immediately. ie

b
>ONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE ww
Vhat To Do If You Think You Find A Mistake on Your Statement
fyou think there is an error on your statement, write to us at:

J.S. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.
1 your letter, give us the following information:
Account information: Your name and account number.
Dollar Amount: The dollar amount of the suspected error.
Description of problem: |f you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
‘ou must contact us within 60 days after the error appeared on your statement.
‘ou must notify us of any potential errors in writing. You may call us, but if you do we are not required ta investigate any potential errors and you may have to pay the amount in question: ,

   

 

    

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Vhile we investigate whether or not there has been an error, the following are true: -
We cannot try to collect the amount in question, or report you as delinquent on that amount. ‘ *
The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to, !
pay the amount in question or any interest or other fees related to that amount. 4 Mt
While you do not have to pay the amount in question, you are responsible for the remainder of your balance. one
We can applyany unpaid amount against your credit limit. = ae
teserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section. "s tt
he date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the +. Ay

 
 

3alance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing“? + *
lays in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The ““*INTEREST ¥\3 ¥ =
*HARGE*™* begins from the date of each advance.

*EPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES

Ve may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.
>ONSUMER REPORT DISPUTES 1 ©
Ve may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this ‘yt
nay prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.823Ge-4'/.
by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide! 3 .* “a

‘our name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,  ¢et¢
\ffidavit of identity theft), if applicable. tH,

 

    

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EQUALHOUSING

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Aember FDIC LENDER* » r
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EY Doge Cae eee! BO/20 Entered: 12/10/20 10:07:1

Page10 of 13

Account Number

730 S JASON ST UNIT 18 3266
DENVER CO 80223-2832 Statement Period:
Oct 1, 2020

through

Oct 30, 2020

ae 2 of 3

 

  

S. Bank National Association
-ustomer Deposits (continued)

 

 

Account Number 1 036-8580-3266

 

 

 

 

 

 

Total Customer Deposits $ 4,230.40
)ther Deposits
date __ Description of Transaction a ee ___RefNumber _ Amount
Jct 7 Real Time Payment Credit From Merchant Services $ 5,976.91

On es

 

 

    

 
  

 

 

Fran Merchant Services
042000013P1BRRRR00045172998

16,456.35

 

 

 

 

Total Other Deposits $ 30,433.26
ther Withdrawals
late __ Description of Transaction ae RefNumber | Amount _

det led Account Transfer _

 

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Electronic Withdrawal
=2028801 ecoes500Y OH
Wi i

Electronic Withdrawal
REF= =202880162624520Y00

ct 15 Electronic Withdrawal

 

 

 
  

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REF=202880162624480Y00 A591916822ACH 8036683533
Total Other Withdrawals $ 30,000.00-
‘hecks Presented Conventionally
heck... Date Ref Number Amount
015 “Oct 27 8355704212 260.00
Conventional Checks Paid (1) $ —-260.00-
salance Summary
jate _ Ending Balance _ Date ____ Ending Balance _ Date _ Ending Balance _
ict 1 100.00 Oct 9 5,533.26 Oct 27 273.26
jek: 7 30,533.26 Oct 15 533.26 Oct 30 4,403.66

Balances oy appear for days See change.

 
 

ccount ais § Activity for: September 2020
Account Number: 1-036-8580-3266 $ 0.00
1-036-8571-6468 $ 0.00

1-036-8580-3266

Account Number:

Analysis Service Charge assessed to 0.00
Neda PRR Dopsreen eqpspassen/20 _Entered:12/10/20 10:07:13 Pagellplig.

CY CASE # 20-16375-TBM 3266
730 S JASON ST UNIT 18 :
DENVER CO 80223-2832 Statement Period:

Oct 1, 2020
through
Oct 30, 2020

Page 3 of 3

 
 
 
 

 

 
  
     
  

ice ce Ac fivity Detail for Account Number 5468

iervice Volume Avg Unit Price
lepository Services
_ Combined’ pertain

 

12

      
 

; . oe
Subtotal: Depository Services 0.00

Fee Based Service Charges for Account Number 1-036-857 1-6468

\An

0.00.

 

 

 

 
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P.O. Box 1800 2987
Saint Paul, Minnesota 55101-0800 Statement Period:
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through
Oct 30, 2020
Bete
ae Page 1 of 2
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ESTATE OF PRO SOURCE OF DENVER INC a To Contact U.S. Bank
DEBTOR IN POSSESSION -
BANKRUPTCY CASE # 20-16375-TBM 24-Hour Business
730 S JASON ST UNIT 18 Solutions: 1-800-673-3555
DENVER CO 80223-2832
U.S. Bank accepts Relay Calls ;
Internet: usbank.com "+

 

 

 

 

   

20 the “Your Deposit Account Agreement" booklet will include several updates and may affect your
rights.
The main updates to note in the revised “Your Deposit Account Agreement" booklet sections and sub sections, include:

e Throughout the document, references to the Federal Regulation D (governing savings and/or money market withdrawal
limitations) have been removed, as they are no longer applicable.

¢ In section “Withdrawal Rights, Ownership of Account, and Beneficiary Designation", sub section "Joint Account - With
Survivorship”, clarification on ownership type.

e Inthe “Dormant Accounts and Escheat" and "Time Deposit" sections, clarification on the state permitted process and
cost structure for escheatment.

* Update to section "Types of Transactions", sub section "Account Access at Automated Teller Machines" regarding: You
may access your Home Equity Line of Credit or Personal Line of Credit for balance inquiries and making a payment to
the respective line of credit at the ATM. Customers with a Debit or ATM card that have accessed a Home Equity Line of
Credit or a Personal Line of Credit through the expanded card access feature, cash withdrawals/advances and
transferring from the Home Equity Line of Credit or Personal Line of Credit is no longer allowed.

Starting November 9th, you may pick up a copy at your local branch, view on usbank.com, or call 800.USBANKS (872.2657) to
request a copy. If you have any questions, our bankers are available to help at your local branch. You can also call us at U.S.
Bank 24-Hour Banking at 800.USBANKS (872.2657). We accept relay calls.

 

 

 

 

.ccount Summary

ieginning Balance on Oct 9 $ 0.00 Number of Days in Statement Period 23 829 &:
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)ther Deposits 1 25,000.07 46, eS. ‘ oe
ther Withdrawals 5 10,420.68- ‘Eng
‘hecks Paid 10 23,075.66- Nak
Ending Balance on Oct 34, 2020 7,189.47 ® at
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Oct 15 8954028707 2,589.15 Oct 20 8355104325 6,875.98 -)¥-
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arm 730 S JASON ST UNIT 18 2987, ~N

an DENVER CO 80223-2832 Statement Period: “¢

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Oct 30, 2020.00".

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ui Page 2 of 2). n a

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Ss. Bank National Association to = Account Number 2987 he Sf ;
‘ustomer ‘Deposits (continued) .

  
   

 

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Total Customer r Deposits $ 15,685.81 . ,
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Mther Deposits

late __ Description of Transaction : a RefNumber Amount : 0p ;
ct 9 Branch Account Transfer From Account 3266 $ 25,000.00 ~ *;.”

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25,000.00 Asas

Total Other Deposits

 

 

 
  

Ither Withdrawals

  
 

 

 
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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heck ——~Date’ ~——s#Ref Number Amount Check _—Date___—_sRef Number _ Amount. 7 sf
097 ———s:t«C ck. 9 9254372663 5,000.00 0109* Oct 19 8054317333 1,100.00 ** !
098 Oct 20 8356648221 1,262.92 0112* Oct 23 9252622671 200.00 * os r
103* Oct 14 8656278654 450.00 0113 Oct 23 9252764122 1,000.00." + ¥;
104 Oct 15 8953228930 1,000.00 0116* Oct 27 8353733521 10,000.00 * ae
106* Oct 21 8651557292 2,211.00 0119* Oct 26 8054833635 851.74 > S 4
* Gap in check ck Sequence Conventional Checks Paid (1 10) $ 23, 3,075. 5.66- , fis io
talance Summary ‘ta me
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dot 14 Eee 19,550.00 Oct 20 22,452.21 Oct 26 18,189.47 es
Ict 15 25,359.83 Oct 21 20,241.21 Oct 27 8,189.47 tee :
ct 16 23,359.83 Oct 22 20,241.21 Oct 28 7,189.47 2 7
Balances only appear for days reflecting change. ve ‘et
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